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                             UNITED STATES DISTRICT COURT
                                                                               SEALED
                               DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA                              Crim.No. \^ C/ I
                   V.                                  VIOLATION:
                                                       18 U.S.C. § 875(c) - Use of Interstate and
 BRANDON JAMES ZIOBROWSKI,                             Foreign Commerce to Transmit a Threat to
              Defendant.                               Injure Another Person




                                         INDICTMENT


         The Grand Jury charges that:

                                   INTRODUCTORY ALLEGATIONS


         1.       At all times material to the allegations below, BRANDON JAMES

ZIOBROWSKI ("ZIOBROWSKI") was a 33-year-old male who resided in Cambridge,

Massachusetts.


         2.       On or about March 25, 2009, ZIOBROWSKI created an account on Twitter. He

registered his account under the usemame @Vine_II. ZIOBROWSKI customized his account

by adding a profile picture and the display name adobe_flash_player.dmg. ZIOBROWSKI has

more than 400 followers on his Twitter account.


    3.          Over time, ZIOBROWSKI's tweets have become more violent and threatening. For

instance, he has repeatedly tweeted his desire to "slit" Senator John McCain's throat. Beginning

in or about February 2018, ZIOBROWSKI began posting tweets that promoted violence against

law enforcement. On or about February 24, 2018, ZIOBROWSKI posted a message on Twitter

that read: "Guns should only be legal for shooting the police like the second amendment

intended." Approximately two weeks after posting this tweet, ZIOBROWSKI expressed his

hatred for law enforcement to a group of approximately 42 people (including at least one of his
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